                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                            SOUTHERN DIVISION

BRIAN DAVIS,                                      §
                                                  §
         Plaintiff,                               §            No.: 1:07-CV-79
                                                  §            Jury Demand
vs.                                               §
                                                  §
CSX TRANSPORTATION, INC.,                         §
                                                  §
         Defendant.                               §

                      SUPPLEMENT TO DEFENDANT’S MOTION IN LIMINE
                            RE: PLAINTIFF’S MEDICAL EXPENSES

         Comes the Defendant, CSX Transportation, Inc., through counsel and supplements its

Motion regarding the payment by the Defendant through United Health Care of Plaintiff’s

medical expenses.

         Plaintiff has taken the deposition of Sue Austin and Ms. Austin testified that Plaintiff

opted out of the Union negotiated insurance plans that Defendant offers its employees. She

testified that he was covered under his wife’s insurance. If his claim for medical expenses

arising out of the subject accident was submitted to her plan with CIGNA, it would be denied

because it is work related. CIGNA does not accept a work related injury claim. Consequently,

the billing would need to be sent to CSX so that it could be paid for by CSX.

         In other words, a part of the Union negotiated agreement between the Defendant and the

Plaintiff’s Union provide that the Defendant will pay medical expenses arising out of a work

related injury and has done so in this case. (Austin Deposition, Pages 28, 29, 30, 31, 43, and 44).




      Case 1:07-cv-00079 Document 53 Filed 04/16/08 Page 1 of 2 PageID #: 728
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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 14, 2008, a copy of the foregoing Supplement to
Defendant’s Motion in Limine Re: Plaintiff’s Medical Expenses, was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail.
Parties may access this filing through the Court’s electronic filing system.

                                               S/ John W. Baker, Jr., Esq.




   Case 1:07-cv-00079 Document 53 Filed 04/16/08 Page 2 of 2 PageID #: 729
